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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )
             vs.                              )                8:05CR307
                                              )
JOSE CANTABRANA,                              )                 ORDER
                                              )
                    Defendant.                )




       Defendant has filed a Motion to Withdraw Previously Filed Motion to Suppress
[33]. Defendant’s motion is granted and the Motion to Suppress [25] deemed
withdrawn.

      IT IS SO ORDERED.

      DATED this 26th day of October, 2005.

                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
